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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION



DON THOMASON                                    :   Case No. 1:17-cv-526
                                                :
              Plaintiff,                        :   Judge Timothy S. Black
                                                :   Magistrate Judge Karen L. Litkovitz
       v.                                       :
                                                :
CINCINNATI CHRISTIAN UNIVERSITY                 :   RULE 26(f) REPORT
                                                :   OF THE PARTIES
              Defendant.                        :

       1.     Pursuant to Fed. R. Civ. P. 26(f), a meeting was held on October 20, 2017, and

was attended by:

              Kelly Mulloy Myers
                     counsel for Plaintiff Don Thomason

              Felix Gora
                     counsel for Defendant Cincinnati Christian University

       2.     The parties:

       _____ have provided the pre-discovery disclosures required by Fed. R. Civ. P. 26(a)(1),
             including a medical package (if applicable).

       __X__ will exchange such disclosures by October 30, 2017.

       _____ are exempt from disclosure under Fed. R. Civ. P. 26(a)(1)(E).

       3.     The parties:

       _____ unanimously consent to the jurisdiction of the United States Magistrate Judge
             pursuant to 28 U.S.C. § 636(c).

       __X__ do not unanimously consent to the jurisdiction of the United States Magistrate
             Judge pursuant to 28 U.S.C. § 636(c).

       _____ unanimously give contingent consent to the jurisdiction of the United States
             Magistrate Judge pursuant to 28 U.S.C. § 636(c), for trial purposes only, in the
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        event that the assigned District Judge is unavailable on the date set for trial (e.g.,
        because of other trial settings, civil or criminal).

  4.    Recommended cut-off date for filing of motions directed to the pleadings:
        December 29, 2017.

  5.    Recommended cut-off date for filing any motion to amend the pleadings and/or to
        add additional parties: January 30, 2018.

  6.    Recommended discovery plan:

        a.     Describe the subjects on which discovery is to be sought and the nature,
               extent and scope of discovery that each party needs to: (i) make a
               settlement evaluation, (ii) prepare for case dispositive motions, and (iii)
               prepare for trial:

        Discovery will need to be conducted on the claims raised in Plaintiff’s
        Complaint and Defendant’s defenses thereto, as well as any alleged damages
        suffered by Plaintiff.

        b.      What changes should be made, if any, in the limitations on discovery
                imposed under the Federal Rules of Civil Procedure or the local rules of
                this Court, including the limitations to 25 interrogatories/requests for
                admissions and the limitations of 10 depositions, each lasting no more
                than one day consisting of seven (7) hours?

        At this time, the parties believe no changes will need to be made in the
        limitations on discovery set forth in the Federal Rules of Civil Procedure.

        c.      Additional recommended limitations on discovery:
                None at this time.

        d.      Recommended date for the disclosure of lay witnesses:
                June 29, 2018.

        e.     Describe the areas in which expert testimony is expected and indicate
               whether each expert had been or will be specifically retained within the
               meaning of Fed. R. Civ. P. 26(a)(2).

                The parties have not yet determined whether expert testimony is
                expected.

        f.     Recommended date for disclosure and report of Plaintiff(s) expert(s):
               May 31, 2018.




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        g.    Recommended date for disclosure and report of Defendant(s) expert(s):
              June 15, 2018.

        h.    Recommended date for disclosure and report of rebuttal expert(s):
              June 30, 2018.

        i.    Discovery of Electronically Stored Information: The parties have
              discussed disclosure, discovery, and preservation of electronically stored
              information, including the form or forms in which it should be produced.

              __X__ Yes

              _____ No

              i.     The parties have electronically stored information in the
                     following formats:

                     Regarding electronically stored information (“ESI”), the
                     parties agree that if disclosure of ESI in other than hard copy
                     becomes necessary, the parties will produce that ESI in adobe
                     pdf format.

                     The parties have agreed that all documents that are protected
                     by attorney-client privilege and/or work product doctrine shall
                     be governed by Fed.R.Civ.P.26(b)(5)(B) and Fed.R.Evid.502.
                     In the event a privilege log is necessary, the log shall set forth
                     the date of the document, the names of sender and recipient,
                     and a brief nature of the document. Such logs will be provided
                     to the opposing party. The parties will attempt to resolve any
                     disagreements as to the designation of any particular document
                     as privileged, and if unable to do so, will provide the
                     documents at issue to the Court for an in camera review and
                     ruling.

                     In accordance with Fed.R.Civ.P.26(b)(5)(B), if information
                     produced in discovery is subject to a claim of privilege or of
                     protection as trial preparation material, the party making the
                     claim may notify any party that received the information of the
                     claim, about the inadvertent disclosure and the basis for
                     privilege. After being notified, a party must promptly return,
                     sequester, or destroy the specified information until the claim
                     is resolved; must take reasonable steps to retrieve the
                     information if the party disclosed it before being notified; and
                     may promptly present the information to the Court under seal
                     for determination of the claim. The producing party must
                     preserve the information until the claim is resolved.

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               ii.     The case presents the following issues relating to
                       disclosure, discovery or preservation of electronically
                       stored information, including the form or forms in which it
                       should be produced:

                       None.

        j.     Claims of Privilege or Protection. The parties have discussed issues
               regarding the protection of information by privilege or the work-product
               doctrine, including whether the parties agree to a procedure to assert these
               claims after production or have any other agreements under Fed. R. Evid.
               502.

               __X__ Yes

               _____ No

               i.      The case presents the following issues relating to claims of
                       privilege or of protection as trial preparation materials:

                       None.

               ii.     Have the parties agreed on a procedure to assert such
                       claims AFTER production?

               _____ No

               __X__ Yes

               _____ Yes, and the parties ask that the Court include their agreement in
                     an order.

  7.    Recommended discovery cut-off date: July 30, 2018.

  8.    Recommended dispositive motion date: September 10, 2018.

  9.    Recommended date for status conference (if any): August 13, 2018.

  10.   Suggestions as to type and timing of efforts at Alternative Dispute Resolution:

        The parties are amenable to Mediation and/or settlement conference.

  11.   Recommended date for a final pretrial conference: November 30, 2018.

  12.   Has a settlement demand been made? Yes       A response? Yes

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       13.     Other matters pertinent to the scheduling or management of this litigation:
               None at this time.


Respectfully submitted,



 /s/ Kelly Mulloy Myers                              /s/ Felix J. Gora (per authorization)
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